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UNITED STATES DISTRICT COURT

 

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X g ;.' `__;i~:i = v;- .
GARFIELD sPENCER, - mm M 114 D !2: 511
Plaimiff, ; CoMl_>LAINI; __ P_
_ -i ‘- -'-1*;“ '\ f t
; sovc'v 938 asks
: JURY DEMAND

BLACK ROCK OYSTER BAR & GRILL, .
JOHN DOE I, both individually and in his capacity :
as agent of Black Rock Oyster Bar & Grill, :
JOHN DOE II_, both individually and in his capacity:
as agent of Black Rock Oyster Bar & Grill, and
JANE ROE, both individually and m her capacity

as agent of Black Rock Oyster Bar & Grill,

Defendants.

 

The Plaintiff, Garfield Spencer, by and through his attorneys, l\/Iaya & Associates,
P.C. complains and alleges that Defendants Black Rock Oyster Bar & Grill, John Doe l,
John l)oe II, and lane Roe, violated rights secured to him under federal and state statutes
as WeIl as Connecticut decisional law.
PARTIES
1. The Plaintiff is Garfleld Spencer (hereinafter “Spencer”), Who resides at

91 Algonquin Road, Fairfield, Connecticut. Spencer is a black, British-born American

maIl.l

2. The first Defendant is Black Rock Oyster Bar & Gn'll, (the “Restaurant”),

which is a public restaurant and bar located at 348 Black Rock Turnpike, Fairfieid,

Connecticut.

 

1 . . . . .
F or the sake of convenience, Spencer is hereinafter referred to as “Afi‘lcan-Amerlcan.”

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3. The second Defendant is an unidentified male individual named herein as
John Doe I (“Doe I”).2 Upon information and belief`, Doe I resides within the state of
Connecticut. At all material times, Doe I was an agent and employee of the Restaurant.
Upon information and belief, Doe I is Caucasia.n or white.

4. The third Defendant is an unidentified male individual named herein as
John Doe II (“Doe II”). Upon information and belief, Doe II resides within the state of
Connecticut. At all material times, Doe II was an agent and employee of the Restaurant.
Upon information and belief, Doe II is Caucasian or white.

5. The third Defendant is an unidentified female individual named herein as
Jane Roe (“Roe”). Upon information and belief, Roe resides within the state of
Connecticut. At all material times, Roe was an agent and employee of the Restaurant.
Upon information and belief, Roe is Caucasian or white.

JURISDICTION

6. The Plaintiff` previously filed a timely complaint with the Connecticut
Commission on Human Rights and Opportunities (“CCHRO”), which issued a Release of
Jurisdiction on March 20, 2007. A copy of the CCHRO’s Release of`Jurisdiction is
attached hereto as “Exhibit A.” The Plaintiff, therefore, has duly exhausted his
administrative remedy.

7. The Court has subject matter jurisdiction over the federal statutory claims
under 28 U.S.C. § 1331, and supplemental jurisdiction over the state claims under

28 U.s.c. § 1367.

 

2 Spencer was not able to find out the names of the individual defendants named herein and their identities

were not disclosed by Black Rock Oyster Bar & Grill during the pendency of Spencer’s CCHRO
complaintl

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VENUE
8. The District of` Connecticut is the proper venue for this dispute under
29 U.S.C. § l391(b), since the events and omissions giving rise to the claims occurred in

this judicial district

FACTS COMMON TO ALL COUNTS

9. On April 2, 2006, at approximately 5 200 p.m. in the aftemoon, Spencer
arrived at Black Rock Oyster Bar & Grill as a prospective customer, with his three-and-a-
half-year old son, Matthew Spencer (hereinafter “Matthew”), who is of mixed race, and
his father-in-law, J ames Smyth (hereinafter “Smyth”), who is Caucasian.

lO. Spencer, Smyth, and Matthew were met by a male waiter, John Doe l
(hereinafter “Doe I”) who proceeded to seat them at a table for four. Spencer asked Doe I
whether they could sit at another table near the window which was also set for four. Doe
told Spencer that they could not be seated there because a party of six was due and were
to be seated there. However, during the entire time Spencer and his family were at the
restaurant, the mythical “party of six” never arrived to be seated at the window seat.

ll. Upon being seated at their table, Spencer and his family waited just a few
minutes before a female waitress, Jane Roe (hereinafter “Roe”) brought them glasses of
water. Roe proceeded to take their order for drinks.

12. Spencer and his party perused the menu while waiting for their drinks to
arrive, and, while waiting, Spencer noticed that other restaurant patrons - all of them

Caucasian - being seated around them were being given water and bread almost

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immediately afier they were seated. Smyth surmised that the other patrons must have
“ordered the bread.”

13. After more than ten full minutes, Roe brought two of the three drinks
orders to the table but she did not, however, bring an orange juice as was ordered for
Matthew. Yet another ten minutes elapsed and Matthew began to get upset that he did
not have his orange juice. Finally, Roe brought a glass of orange juice to the table and
took the party’s food order.

l4. Spencer and Smyth had by now noticed that every other table in the
restaurant - without exception ~ had been given water and bread as soon as they were
seated. Spencer and Smyth also noticed that there were no people of color in the
restaurant apart from Spencer and his son, Matthew. Furthermore, Spencer and Smyth
noticed that Doe I had walked past their table at least six times but did not stop to ask
whether they needed anything, although he seemed to make a point of stopping at every
other table in the vicinity.

15. Spencer became visibly annoyed at the treatment they were receiving,
particularly when he overheard Doe I telling Roe to discreetly inform another table that
“their bread [was] in the warmer” when in fact it was obvious that this table had already
consumed their first portion of bread.

16. In stark contrast to the service they were receiving, Spencer could not help
but notice that the other patrons were receiving their drinks and food promptly after
placing their orders, with a relatively high standard of customer service.

17. Spencer’s appetizer arrived approximately fifteen minutes after they had

placed their order. Finally, after Smyth’s side salad appeared, and some time after the

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appetizer was delivered without any of the main courses they had ordered, Spencer
noticed an individual in a sky blue shirt walk near their table. Utterly exasperated by this
time, Spencer stood up, tapped the individual on his shoulder and inquired as to whether
he was the manager. The individual said he was, at which point Spencer asked if he
could “have a word with him” outside, since he did not want his son, Matthew, to hear
the conversation.

18. Spencer and the manager, John Doe ll (hereinafter “Doe Il”) went outside,
at which point Spencer complained that he was with his young son and his father-in-law,
who was an elderly gentleman, that they had been waiting for their food for more than
forty-five minutes, that they had not even been offered bread upon their arrival or at any
time while they were waiting, and that it was obvious that they were being treated in a
cavalier and hostile manner by the wait staff.

19. Spencer told Doe ll that he would not stand for the type of treatment they
had received and asked for the check. Doe ll simply shrugged, told Spencer to calm
down and walked back inside. Smyth then came outside with Matthew.

20. Two or three minutes later, Doe I and Roe came outside with the party’s
check. Doe l told Spencer that not giving them bread had been an oversight, at which
point Spencer confronted both Doe l and Roe with the fact that he had overheard Doel
telling Roe to inform another table that their second serving of bread was in the warmer.
Roe acknowledged that this exchange had indeed taken place.

21. Spencer paid the bill, which bill included charges for main courses which
were ordered and never received, and - thoroughly repulsed by the entire episode - left

the premises with his family.

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COUNT l

DISCRIMINATORY PRACTICES IN VIOLATION OF CONNECTICUT

GENERAL STATUTES §§ 463~64|1[, 46a-64|2[

1-21. Spencer repeats and realleges paragraphs l through 21, above, as if fully
set forth herein.

22. As detailed above, Spencer and his party were treated in a patently
cavalier and hostile manner by the defendants, in stark contrast to the manner in which
the other patrons of the Restaurant - who were, without exception, not people of color
like Spencer and his son Matthew - were being treated

23. Based upon the foregoing, Defendants violated Connecticut General
Statutes §§ 46a-64(l) and (2), by intentionally denying Spencer full and equal
accommodations with Black Rock Oyster Bar & Grill and maliciously discriminating
against him based upon his race as an African-American.

24. As a result of the violations alleged in paragraph 24 and 25, above, the
defendants have tortiously harmed Spencer who has suffered emotional distress and loss
of personal dignity as a result of their actions, which he continues to suffer from today,

and upon information and belief, will continue to suffer fi'om in the future.

Ml!
DISCRIMINATORY PRACTICES IN VIOLATION OF 42 U.S.C. § 1981
1-24. Spencer repeats and realleges paragraphs l through 24 above, as if fully
set forth herein.
25. Pursuant to the Civil Rights Act of 1866, 42 U.S.C. § 1981, all persons

within the jurisdiction of the United States shall have the same right in every State and

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Territory to make and enforce contracts to the full and equal benefit of all laws as is
enjoyed by white citizens.

26. By intentionally denying Spencer full and equal accommodations with
Black Rock Oyster Bar & Grill and maliciously discriminating against him based upon
his race as an African-American, Def`endants violated the Civil Rights Act of 1866, 42

U.S.C. § 1981, and are therefore liable to Spencer for compensatory damages.

COUNT III

INJUNCTIVE RELIEF PURSUANT TO
TITLE II OF THE CIVIL RIGHTS ACT

1-26. Spencer repeats and realleges paragraphs l through 26, above, as if fully
set forth herein.

27. Pursuant to Title ll of the Civil Rights Act of 1964, 42 U.S.C. § 2000a, all
persons shall be entitled to the full and equal enjoyment of the goods, services, facilities,
privileges, advantages and accommodations of any place of public accommodations,
without discrimination on the ground of race, color, or national origin.

28. By intentionally denying Spencer full and equal accommodations with
Black Rock Oyster Bar & Grill and maliciously discriminating against him based upon
his race as an African-American, Defendants violated Title ll of the Civil Rights Act of
1964.

29. Plaintiff` has suffered irreparable harm as a result of the discriminatory acts
of Defendants complained of herein and that injury will continue unless declared to be

unlawful and enjoined by this Court.

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WHEREFORE, Plaintiff Spencer demands judgment as follows:

a. On the First Cause of Action, the assessment of civil penalties as
permitted by applicable law, and such other relief as this Court deems just
and proper;

b. On the Second Cause of Action, compensatory damages, punitive

damages as permitted by applicable law, costs, attorneys fees, and such
other relief as this Court deems just and proper;

c. On the Third Cause of Action, that this Court enter a temporary and
permanent injunction, costs, attorneys fees, and such other relief as this
Court deems just and proper;

Dated: June 14, 2007

THE PLAINTIFF,
GARFIELD SPENCER

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commission oN HUMAN RlGHTs AND oPPoRTuNiTiEs
-' FoRM 500(3)

RELEASE OF JURISD|CT|ON

COMM|SS|ON ON HUMAN RIGHTS AND
OPPORTUN|TIES, ex rel.

Garlield Spencer
Comp|ainant Date: March 20, 2007

VS .

Black Rock Oyster Bar & Grill

Re'spondent

CCHRO CASE NO.: 0620499
`EEOC CASE NO.: NIA

RELEASE OF JUR|SD|CTION

Pursuant to Comp|ainant's and/or Complaint's attomey(s) request dated March 12 , 2007,
the Commission on Human Rights and Opportunities hereby releases its jurisdiction over
the above numbered and captioned complaint in accordance with Section 463»101 of the
Connecticut General Statutes. A|so, in accordance with Section 463-100, C.G.S.
Comp|ainant is hereby authorized to commence a civil action against the Respondent in
the Superior Court for the judicial district in which the discriminatory practice is alleged to
have occurred or in which the Respondent transacts business. if this action involves a
state agency or ofticia|, it may be brought in the Superior Court for the Hartford-New Britain
judicial district

Please be advised that, pursuant to CONN. GEN. STAT. §46a-103, the Comp|ainant or
Comp|ainant’s attorney_must-serve on the Commiss`ion, at 21 Grand Street, Hartford,
Connecticut 06106 at the-same time all other parties are served, a copy of any civil
action filed pursuant to this release. The Commi"ssion must be so served because it
has a right to intervene in any action filed based on a release of jurisdiction

ln granting this release, the Ccmmission expressly tinds, in accordance with Sections 46a-
100 and 46a-101(b) of the C.G.S., that all conditions precedent to the issuance of the
release of jurisdiction have been complied with inasmuch as the complaint was filed in
accordance with 46a-82 of the C.G.S. and the complaint has been pending for a period of
not less than 210 days, inasmuch as it was filed on June 13, 2006 is still pending on
March 20, 2007 a period in excess of two hundred and ten (210) days. '

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|'tl|oreoverl there is no reason to believe that the complaint will be resolved within a period
of thirty (30) days from March 14, 2007, the date the Commission received Comp|ainant's
request for the Re|ease of Jurisdiction. nor is the complaint currently scheduled for public
hearing. [see Section 46a-101(c) of the Connecticut General Statutes].

The com ,|ainantmust brin an action in Su eriorCourtwithin nine 90 da of recei tof
this release and within two 2 ears of the date of ti|in the corn |aint with the_
Commission. The Superior Court shall have such authority as is conferred upon it by
Section 46a-104 of the C.G.S., and other laws of the State of Connecticut.

 

Concurrent|y, with the issuance of this Re|ease of Jurisdiction, the Commission hereby
administratively dismisses this complaint in accordance with Sectlon 46a-101(d) the

Connecticut Genera| Statutes. Furthermore, said dismissal is not subject to administrative
judicial review. v

Very truly yours,

Dona|d E. Newton
Chief of Fie|d Operations

Dated and entered of record in the Commission's Administrative Offlce in Hartford,
Connecticut on this _2_01§ day of March, M.
cc: Comp|ainant Garl're|d Spencer

Comp|ainant's Attomey: Attorney Karen A. Anderson

Receipt for Certitied Mail 7099 3400 0008 5562 6370

Respondent(s): Craig Watson, Black Rock Oyster Bar & Grill

Respondent’s Attomey: Attorney John K. Cohane

Regiona| Manager: Tanya A. Hughes, Regional Manager

Southwest Regiona| Ofiice

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